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                      UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF TEXAS
                             WACO DIVISION
UNITED STATES OF AMERICA                        §
                                                §      CRIMINAL NO:
vs.                                             §      WA:20-CR-00097(1)-ADA
                                                §
(1) CECILY ANN AGUILAR                          §

            ORDER SETTING JURY SELECTION AND TRIAL
        IT IS HEREBY ORDERED that the above entitled and numbered case is set for
JURY SELECTION AND TRIAL in District Courtroom #1, on the Third Floor of the United
States Courthouse, 800 Franklin Ave, Waco, TX, on Monday, January 23, 2023 at 09:00 AM.

       IT IS FURTHER ORDERED that the Clerk of Court shall send a copy of this order to
counsel for defendant, the United States Attorney, United States Pretrial Services and the United
States Probation Office. Counsel for the defendant shall notify the defendant of this setting and,
if the defendant is on bond, advise the defendant to be present at this proceeding.

        IT IS SO ORDERED this 16th day of August, 2022.




                                                ______________________________
                                                ALAN D ALBRIGHT
                                                UNITED STATES DISTRICT JUDGE
